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                                      UNITED STATES BANKRUPTCY COURT,SOUTHERN DISTRICT OF FLORIDA

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                                                      CHAPTER 13 PLAN (Individual Adjustment of Debts')
                              □                                             Original Plan

                              □                                             Amended Plan {Indicate 1st, 2nd, etc. Amended, if applicable)

                              @ THIRD                                       Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

     DEBTOR: Tracy Lavelt Jones                                  JOINT DEBTOR:                                       CASE NO.: 20-15322-LMI

     SS#: xxx-xx- 4748                                            SSil: xxx-xx-
     I.             NOTICES

                    To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                       modified plans shall be served upon all creditors and a certificate of service fi led with the Clerk pursuant to Local
                                       Rules 2002-1 (C)(5), 3015-I(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of fi ling
                                       the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                    To Creditors:       Your rights may be affected by this plan. You must fi le a timely proof of claim in order to be paid. Your claim may
                                        be reduced, modified or eliminated.

                    To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph IX. Deblor(s) must check one box
                                        on each line listed below in this section to state whether the plan includes any of the following:

          The valuation of a secured claim, set out in Section III. which may result in a
                                                                                                                     I   I   Included       [I]     Not included
          partial payment or no payment at all to the secured creditor
          Avoidance of a judicial lien or nonpossessory', nonpurchase-money security interest, set
                                                                                                                     [W]     Included       I   I   Not included
          out in Section III
          Nonstandard provisions, set out in Section IX                                                              [■1     Included       I   I   Not included
    II.             PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORtSV ATTORNEY'S FEE

                    A.    MONTHLY PLAN PAYMENT: Tliis Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                         fees of 10%, beginning 30 days from the fi ling/convcrsion date. In the event the liustee does not retain the full 10%, any unused
                         amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                              $945.12               for months          to 23      ;

                         2.   $1,851.29             for months    24    to 84      ;

                    B.   DEBTORrSV ATTORNEY’S FEE:                                           □ NONE    □ PRO BONO
              Total Fees:               $5,700.00           Total Paid:                $1,715.00        Balance Due:            $3,985.00

              Payable               $173.26         /month (Months      I    to 23 )
              Allowed fees under LR 2016-l(B)(2) are itemized below:
              ROBERT SANCHEZ, ESQ.; $4500 Attorneys Fees + $525 Mtn to avoid Lien + $ 150 Cost -i- $525 Motion to Modify^ $5,700.00

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
              Total Fees:               $2,475.00           Total Paid:                $1,037.00        Balance Due;            $1,438.00

              Payable               $62.52          /month (Months      1    to 23     )
              Allowed fees under LR 20I6-1(B)(2) are itemized below;
              JOSE A. BLANCO, ESQ.: $1,950.00 Attorney's Fees + $525 Motion to Modify = 2,475.00

              Applications foi- compensation must be fi led for all fees over and above the Court's Guidelines for Compensation.
    HI.             TREATMENT OF SECURED CLAIMS                        □ NONE

                    A. SECURED CLAIMS:              □ NONE
                    [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Li en on Real or Personal Property:

               >●    Creditor: chase Mortgage [POC#7-l]
                     Address: Chase Rccords/Attn:                 AtTcarage/ Payoff on Petilion Dale   38,001.09



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                                                                           Debtor(s): Tracy LaveU Jones                          Case number: 20-15322-LMI

                              Correspondence                    Arrears Payment(Cure)                         $177.51      /month (Months     I    to 23 )
                              Mail Code LA45555 700
                                                                Regular Payment(Maintain)                     $464.38      /month (Months     I    to 23 )
                              Kansas Lan
                              Monroe, LA 71203                  Arrears Payment (Cure)                        $556.04      /month (Months    24    to 84 )

            Last 4 Digits of                                    Regular Payment (Maintain)                    $1,038.44    /month (Months 24       to 84 )
            Account No.;                   7739

        Other:


        [■] Real Property                                                           Check one below for Real Property:
                   [■iPrincipal Residence                                           [^Escrow is included in the regular payments

                   I    lOther Real Property                                        QXhe debtor(s) will pay       Qtaxes     |   [insurance directly
            Address of Collateral:
            17454 SW 108 Court, Miami, FL 33157


        I     I Personal Property/Vehicle

            Description of Collateral:

              B. VALUATION OF COLLATERAL:                       [■] NONE

              C,       LIEN AVOIDANCF □ NONE
                       Judicial liens or nonpossessory, nonpurchase money security interests securing the claims will be avoided to the extent that they
                       impair the exemptions under 11 U.S.C. § 522 as listed below. A separate motion will also be served pursuant to BR 7004 and LR
                       3015-3.

            1. Creditor: GE Money Bank nka Synchrony Bank                           Collateral:    17454 SW 108 Court, Miami, FL 33157
                Address: 170 w. Election Rd#125
                              Draper, UT 84020                                      Exemption: Art. X. Section 4 Florida Constitution

            Last 4 Digits of Account No.:         3312

              D. SURRENDER OF COLLATERAL:                         [|] NONE

              E.       DIRECT PAYMENTS            B      NONE
IV.           TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in                                U.S.C. §507 and 1 1 U.S.C. § 1322(a)(4)]    @ NONE
V.            TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                        □ NONE

                   A. Pay          $0.00          /month (Months     1    to 23 )

                        Pay        $71.68         /month (Months    24    to 84 )

                        Pro rata dividend will be calculated by the Trustee upon review of fi led claims after bar date.

                   B. n If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

                   C. SEPARATELY CLASSIFIED:                B NONE

VI.           STUDENT LOAN PROGRAM                       B NONE

VII.          EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                    B NONE
VIII.         INCOME TAX RETURNS AND REFUNDS:

                       B The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(t) 1-4 on an
                         annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                         Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                         provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                         increases by more than 3% over the previous year’s income. [Miami cases]

IX.           NON-STANDARD PLAN PROVISIONS □ NONE
             B         Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
                       Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

                       If the debtor receives gambling winnings during the pendency of the plan the debtor shall turn over any
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                 gross winnings to the Chapter 13 Trustee for the benefit of the unsecured creditors.
           I I    Mortgage Modification Mediation


                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.



                                        Debtor                                                           Joint Debtor
                                                          Date                                                                  Date
  Tracy Lavett Jones




 /s/ Jose A. Blanco, Esq.
                                                        Date
    Attorney with permission to sign on
     Debtor(s)' behalf who certifies that
     the contents of the plan have been
       reviewed and approved by the
                    Debtor(s).*


  By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
  order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
  contains no nonstandard provisions other than those set out in paragraph IX.




*This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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